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  1                        UNITED STATES DISTRICT COURT

  2                      CENTRAL DISTRICT OF CALIFORNIA
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  4

  5    THE HONORABLE STEPHEN V. WILSON, U.S. DISTRICT JUDGE PRESIDING
  6

  7   SECURITIES AND EXCHANGE        )
      COMMISSION,                    )
  8                                  )
                Plaintiff,           )
  9                                  )
         vs.                         )        No.   CV   09-6980-SVW
 10                                  )
                                     )
 11   ELLIOTT BROIDY,                )
                                     )
 12             Defendant.           )
      _______________________________)
 13
 14

 15

 16                   REPORTER'S TRANSCRIPT OF PROCEEDINGS
 17                          LOS ANGELES, CALIFORNIA

 18                         MONDAY, FEBRUARY 22, 2010

 19
 20                              STATUS CONFERENCE

 21
 22   _____________________________________________________________

 23                       DEBORAH K. GACKLE, CSR, RPR
                            United States Courthouse
 24                    312 North Spring Street, Room 402A
                         Los Angeles, California 90012
 25                              (213) 620-1149


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  1   APPEARANCES OF COUNSEL:

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  4         For the Plaintiff:

  5
  6               UNITED STATES SECURITIES AND EXCHANGE COMMISSION
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  9

 10

 11         For the Defendant:

 12

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                  Washington, DC 20005
 15

 16
 17               DEWEY & LeBOEUF
                  BY: PETER ROOT
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                  Palo Alto, California 94303
 19
 20

 21                                  - - - - -
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 23

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 25


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  1   LOS ANGELES, CALIFORNIA; MONDAY, FEBRUARY 22, 2010; 2:50 P.M.

  2                                  - - - - -
  3

  4               THE CLERK:    Item 15, CV 09-6980, Securities and

  5   Exchange Commission versus Elliott Broidy.
  6               Counsel, please state your appearances.

  7               MS. HAKALA:    Leslie Hakala for the Securities and

  8   Exchange Commission.      With me is David Havermaat.
  9               MR. BEST:    Good afternoon, Your Honor.      Stephen Best

 10   for Mr. Broidy, and I put in my pro hac motion this morning.

 11               MR. ROOT:    Peter Root on behalf of defendant, as
 12   well.

 13               MR. BEST:    And also appearing is Mona Hanna from the
 14   Michelman firm, and she was here as my sponsor, and she is here

 15   to make any personal attestations, if necessary.

 16               THE COURT:    All right.    You are admitted --
 17               MR. BEST:    Thank you.

 18               THE COURT:    -- for these purposes.

 19               Now, the court's connection with this case to date
 20   has only been to order the deposition of Mr. Broidy.

 21               Has that occurred?
 22               MS. HAKALA:    Your Honor, Mr. Broidy has appeared for

 23   testimony.    Your order also -- and I think where the problem

 24   lies -- ordered Mr. Broidy to complete his document production
 25   by October 12th, 2009.      We received a letter from counsel that


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  1   day saying that his production was substantially complete.            We

  2   did not receive anything after that from Mr. Broidy or his
  3   counsel until yesterday.      At about 4:30 p.m., additional

  4   materials were emailed me.       I believe there was renewed

  5   attention to the issues with the status --
  6               THE COURT:    I didn't hear what you said.

  7               MS. HAKALA:    With the status conference looming,

  8   there was renewed attention.
  9               THE COURT:    This is a status conference.      The parties

 10   are here to inform me as to where we are in this case.

 11               What is the status?
 12               MR. BEST:    Thank you, Your Honor.

 13               THE COURT:    From defendant's standpoint.
 14               MR. BEST:    From the defendant's standpoint, I want to

 15   first, before I go into the -- what I would call -- hangnails

 16   that are still around, that I am shepherding and commit to Your
 17   Honor to be cleaned up within the next week, but this is due in

 18   no part whatsoever by Mr. Broidy.

 19               This is an unfortunate circumstance that -- there
 20   have been changes of counsel, and I would say talking past

 21   counsel.    Indeed, on October 12th, Alex Southwell of Gibson,
 22   Dunn & Crutcher did write to Ms. Hakala stating that the

 23   discovery was substantially complete.        That would have

 24   triggered my interest as to what that means, as well, but
 25   nobody shepherded that process.


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  1               I reached out -- just so Your Honor knows, Gibson,

  2   Dunn withdrew as counsel for Mr. Broidy in, I think, early
  3   November or mid November of 2009.        We replaced -- Dewey &

  4   LeBoeuf, Mr. Ferrara and Mr. Clark and I, replaced Gibson, Dunn

  5   at that time, and the Michelman firm did come in to assist in
  6   the capacity of I think -- in document production efforts and

  7   other efforts sometime in the fall of 2009.

  8               On October 12th, 2009, Alex Southwell represented to
  9   Ms. Hakala that the SEC production was substantially complete.

 10   I spoke to Mr. Southwell late last week, Your Honor, to

 11   determine whether or not he could represent a -- what is
 12   consistent with SEC enforcement practice that, in fact, to the

 13   best of counsels' knowledge, that all documents of relevance,
 14   excepting those that are being withheld for privilege, have

 15   been provided to the SEC.

 16               He informed me, Your Honor, that there were two
 17   primary issues:     One was that Gibson, Dunn, despite having

 18   received a subpoena June 15th of 2009, did not commit

 19   themselves to a hard document search.        While electronic
 20   documents were searched, no hard document search had been

 21   undertaken.
 22               The remedy to that, Your Honor -- and this is part of

 23   my shepherding of this process and commitment to Your Honor

 24   that this will be complete in the next week -- is that
 25   Ms. Hanna and her colleagues from the Michelman firm will


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  1   complete that hard document search this week and make

  2   representations to Ms. Hakala and to Your Honor, if Your Honor
  3   wishes.

  4               The confusion there was that there was a hard

  5   document search that was done by Gibson, Dunn in early
  6   November.    The Michelman firm and the Markstone employees and

  7   Mr. Broidy all thought that that was part and parcel to, as

  8   well, the SEC subpoena.      As I learned from Mr. Southwell at
  9   Gibson, Dunn, that was not part and parcel to the SEC subpoena,

 10   it was part and parcel to the New York attorney general's

 11   investigation, and there is not overlap --
 12               THE COURT:    So is the end result here your

 13   representation that the hard copy discovery will be complete in
 14   a week?

 15               MR. BEST:    Yes, Your Honor.

 16               THE COURT:    And you'll either turn over relevant
 17   documents or file the appropriate declaration?

 18               MR. BEST:    Yes, Your Honor.

 19               THE COURT:    And what's the next step, SEC?
 20               MS. HAKALA:    Your Honor, I'm glad to talk about that

 21   next, but before -- the one other thing to note is that there
 22   are other problems other than just the hard copy document --

 23               MR. BEST:    That was the first open issue.

 24               THE COURT:    What are the other issues?
 25               MR. BEST:    The second is a concern that was


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  1   expressed --

  2               THE COURT:    Can I just raise a preliminary matter.
  3               MR. BEST:    Yes, Your Honor.

  4               THE COURT:    Even though I'm a judge and there may be

  5   some belief that I don't come to the bench the normal way, that
  6   is, I drop from the celestial bodies, I do read the newspapers

  7   like everyone else.      I'm allowed to; I'm not recused from

  8   reading the newspapers.       So I know that Mr. Broidy has either
  9   pled guilty or has entered into negotiations with the U.S.

 10   attorney's office in New York.

 11               MR. BEST:    The New York attorney general's office.
 12               THE COURT:    Not the --

 13               MR. BEST:    No, Your Honor.
 14               THE COURT:      -- federal?

 15               I see.   I know generally what the allegation is.         So

 16   what is the interest of the SEC?        Is he a licensed
 17   broker-dealer?     He is?

 18               MS. HAKALA:     Your Honor --

 19               THE COURT:    What is the end result?      I mean it seemed
 20   to me that he pled to rather serious-sounding charges, and

 21   why -- I'm not trying to direct the SEC, but why is the SEC
 22   even involved?

 23               MS. HAKALA:     Why --

 24               THE COURT:    Yes.
 25               MS. HAKALA:     I understand, Your Honor.     I think there


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  1   are a couple things to note.       One is that Mr. Broidy's firm,

  2   Markstone, which has also entered into an agreement with the
  3   New York attorney general's office, secured a large investment

  4   from the California -- from CalPERS, and there are -- the

  5   officials in New York it appears may have come out in an effort
  6   to influence CalPERS' decision.       There were other people in

  7   California who were involved with that.         Furthermore --

  8               THE COURT:    I read about that.     That's all public
  9   information.

 10               MS. HAKALA:    Some of it is --

 11               THE COURT:    I've read that in the Wall Street
 12   Journal.    I mean I know the charge is that he -- the allegation

 13   is that he offered or gave gratuities to certain people who
 14   were in a position to send some of the funds to his company for

 15   investment.    There was no allegation that he misappropriated

 16   the funds or committed any fraud with the funds, it was just
 17   that he tried to get their business by offering gratuities; and

 18   part of the business was from the CalPERS, which is a huge

 19   fund.
 20               So what is the SEC's interest?

 21               MS. HAKALA:    The SEC is concerned about, among -- the
 22   other thing that I would note is that Mr. Broidy, during the

 23   relevant period, actually served on the board of the

 24   Los Angeles Fire and Police Pension Fund and so was also making
 25   investment decisions at the same time that he was for Public


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  1   Pension Funds.     He was sort of wearing two hats.

  2               THE COURT:    So what relief are you looking for?       What
  3   relief are you looking for that is not available to the New

  4   York attorney general?

  5               MS. HAKALA:    We are conducting a fact-finding
  6   investigation, and we believe that Mr. Broidy has materials

  7   that are factually relevant to our investigation of conduct by

  8   people in California.      I think it's important to keep in mind
  9   we're not -- it's not that our investigation is in the matter

 10   of California Public Pension Funds, but we haven't reached any

 11   conclusions about who would be defendants -- this is not a
 12   situation where Mr. Broidy is a defendant, that we're engaged

 13   in some kind of pretrial discovery.        We pursued subpoena
 14   enforcement action because Mr. Broidy has continually -- and I

 15   think the subpoena that you may be referring to was in May,

 16   actually, of 2009.      We've been trying to get material from
 17   Mr. Broidy because he is relevant percipient fact witness --

 18               THE COURT:    I understand.    In other words, the

 19   proceeding before me is really just to enforce an SEC subpoena.
 20               MS. HAKALA:    Yes, Your Honor.

 21               MR. BEST:    Yes.
 22               THE COURT:    And you're telling me that while there

 23   may be some implication of Mr. Broidy to what you're doing,

 24   that isn't your sole interest or maybe not even your principal
 25   interest.    Your principal interest is sort of the other shoe,


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  1    that is, who was he dealing with in PERS?

  2               MS. HAKALA:    Among others, yes, Your Honor.
  3               THE COURT:    And so you want his testimony.

  4               MS. HAKALA:    He took the Fifth.     He declined to

  5    testify.
  6               THE COURT:    I see.

  7               MR. BEST:    This was prior to the entry of the plea.

  8               THE COURT:    But the fact is that he still has the
  9    Fifth Amendment privilege until there's a judgment, that is,

 10    until he has been sentenced.

 11               MR. BEST:    That's correct.
 12               THE COURT:    So there's no way -- if he has a Fifth

 13    Amendment privilege, which I would suspect he does, until there
 14    is a judgment, then he has the privilege.

 15               So how can I compel to him to testify?

 16               MS. HAKALA:    Your Honor, we're not here asking you to
 17    compel him to testify.      We did ask you to compel him to appear,

 18    and he appeared and asserted his Fifth Amendment privilege, and

 19    the Commission -- my colleagues and I certainly respect that --
 20               THE COURT:    Where are we now?

 21               MS. HAKALA:    The problem that is his document
 22    production is woefully incomplete.

 23               MR. BEST:    That's an overstatement, I think.

 24               THE COURT:    But, in other words, you're going to --
 25    you're the new counsel.


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  1               MR. BEST:    Yes, Your Honor.

  2               THE COURT:    You're going to try and be the honest
  3    broker here --

  4               MR. BEST:    Yes, Your Honor.

  5               THE COURT:    -- and get it done.
  6               And so, look, wait to see what you get in a week or

  7    10 days and then re-notice a hearing.

  8               MS. HAKALA:    Certainly, Your Honor.
  9               THE COURT:    Thank you.    Thank you, Your Honor.

 10               MR. HAVERMAAT:     Thank you, Your Honor.

 11
 12

 13                            C E R T I F I C A T E
 14

 15               I hereby certify that the foregoing is a true and

 16    correct transcript from the stenographic record of
 17    the proceedings in the foregoing matter.

 18

 19                                                February 25, 2010
 20    __________________________             __________________________

 21      Deborah K. Gackle                            Date
         Official Court Reporter
 22      CSR No. 7106

 23

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 25


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